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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 10-20071-CR-King/Garber



 UNITED STATES OF AMERICA,

 v.

 GIOVANNI HINES,

      Defendant.
 _____________________/

                                      ORDER

       THIS CAUSE is before the Court by Order of Reference from U.S. District Judge

 James Lawrence King. Upon due consideration, it is hereby

       ORDERED that a change of plea hearing, previously scheduled for June

 17, 2010,is hereby rescheduled to Monday, the 28th day of June, 2010, at 10:00

 A.M. in the James Lawrence King Federal Justice Building, Courtroom 4,

 Tenth Floor, 99 N.E. 4th Street, Miami, Florida 33132. Sentencing is scheduled

 for Thursday, August 26, 2010, at 10:00 A.M. in Courtroom 11, Eleventh Floor,

 in the James Lawrence King Federal Justice Building before United States

 District Judge James Lawrence King.

       DONE AND ORDERED in Chambers at Miami, Florida this 17th day of June, 2010.


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                                              BARRY L. GARBER
                                              UNITED STATES MAGISTRATE JUDGE
